           CASE 0:17-cr-00064-DWF-KMM Doc. 168 Filed 07/02/18 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
                                                           17-cr-64-DWF-KMM
                                      Plaintiff, ))
                                                  )        STATEMENT OF FACTS
                        V.                        )        IN SUPPORT OF
                                                  )        EXCLUSION OF TIME
                                                  )        UNDER SPEEDY TRIAL
EDWARD S. ADAMS,                                  )        ACT
                                     Defendant. )
                                                  )
                                                  )


         Pursuant to 18 U.S.C. § 3161(h)(7)(A), I, Edward S. Adams, the defendant in this case,

agree to the following statement of facts in support of the parties’ Joint Motion to Continue

Trial:

             As I noted in my previous motions to exclude time under the Speedy Trial Act,

              my counsel has filed significant motions related to the claims in the Indictment, as

              well as to the newly added claims in the Superseding Indictment, which was

              issued on December 20, 2017. These motions are substantive and complex.

             The Court held a two-day evidentiary hearing on January 8 and 9, 2018, regarding

              our motion to suppress. Thereafter, after additional disclosures by the

              government and briefing relating to privilege issues, on June 1 my counsel filed

              our Post-Hearing Brief in Support of Motion to Suppress [Docket No. 147] and

              Motion to Dismiss the Superseding Indictment, or in the Alternative for

              Disqualification, for Privilege Violations [Docket No. 141]. These briefs present

              evidence and argument related to what we believe was an unreasonable execution

              of a search warrant on my email accounts, in violation of my Fourth Amendment
          CASE 0:17-cr-00064-DWF-KMM Doc. 168 Filed 07/02/18 Page 2 of 3



            rights. The briefs also present evidence and argument related to what we believe

            was the improper handling of my attorney-client privileged communications, in

            violation of my Fifth and Sixth Amendment rights.

           Recently, the government sought an extension of its deadlines to respond to our

              motions. The Court granted the government’s request in part, finding that “the

              departure of a lead member of the prosecution team from the United States

              Attorney’s Office has delayed the government’s ability to prepare its responses

              to the pretrial motions,” and extended the government’s response deadline to

              July 23, 2018. [Docket No. 141.] In light of this extension, the motions will not

              be fully briefed until August 6, 2018. [Id.]

           The Court acknowledged that there may be additional litigation regarding my

            privilege designations, which will proceed on the same schedule as our pending

            motions. [Id.]

           Thus, given that these pending issues will not be fully briefed until August, my

            counsel and I believe (and the government has indicated it agrees) that trial should

            be continued until January 28, 2019 in order to provide sufficient time to prepare

            for trial in light of the resolution of these pending issues.

           The Court previously excluded the period from March 31, 2017 (the date of my

            original arraignment) through October 9, 2018 (the current trial date) from the

            Speedy Trial Act computations in this case. [Docket No. 108.]

       Based on the above facts, I request that the period of time from October 9, 2018 (the

current trial date) until January 28, 2019 (the date my counsel and I have proposed as our trial

                                                2
            CASE 0:17-cr-00064-DWF-KMM Doc. 168 Filed 07/02/18 Page 3 of 3



date in this matter) be excluded from the time in which I would otherwise have to be brought

to trial on my case.

         I have discussed this matter with my attorney. I voluntarily make this request, with full

knowledge of my rights under the Speedy Trial Act.


Dated:       July 2, 2018                       s/Edward S. Adams
                                                Edward S. Adams, Defendant




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